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        IN THE CIRCUIT COURT OF MONONGALIA COUNTY, WEST VIRGINIA

JANET A. JOHNSON and
CHRISTOPHER JOHNSON,
wife and husband,


V.
         Plaintiffs,
                                                        CIVIL ACTION NO.         I   9-c!-5 I
AMEDISYS HOLDING, L.L.C.,
a foreign limited liability company; and
JEMIA M. GREGORY,

          Defendants.

                                            COMPLAINT

          For their complaint against the Defendants, Amedisys Holding, L.L.C. and Jemia .M.

Gregory, the Plaintiffs Janet A. Johnson and Christopher Johnson state as follows:

                               I. The Parties, Venue and Jurisdiction

          The Plaintiffs are residents of the Commonwealth of Pennsylvania. They are a married

couple.
          The Defendant Amedisys Holding, L.L.C. (henceforth, "Amedisys") is a foreign limited

liability company which is engaged in the business of providing in-home health care services,

including, but not limited to, skilled nursing, physical therapy, and occupational therapy. It has a

Care Center (i.e.office) in Morgantown, Monongalia County, West Virginia.

          The Plaintiff Janet A. Johnson (henceforth at times "Ms. Johnson" or "Plaintiff') is a former

employee of the Defendant Amedisys, having been hired on April 20,2010. During her employment

with Amedisys Ms. Johnson was the Director of Operations at Amedisys's Morgantown Care Center.

She also provided services to Amedisys patients in her capacity as a Registered Nurse.



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       Ms. Johnson was wrongfully terminated from her employment at Amedisys' Morgantown,

West Virginia location on November 13, 2018 in violation of the public policy of this State that

public health insurers such as Medicare not be overcharged or subjected to fraudulent billing; and

that patients not be exposed to unnecessary treatment.

       Ms. Johnson was terminated by her immediate supervisor, the Defendant Jemia M. Gregory,

who was Assistant Vice President of Operations for Amedisys' locations in various parts of West

Virginia, including specifically the Morgantown, Monongalia County, West Virginia Care Center.

       Upon information and belief, the Defendant Gregory is a West Virginia resident.

       Venue and jurisdiction properly lie with this Honorable Court.

                            II. PlaintifFs Wrondul Termination

       In January 2018, the Defendant Gregory became Assistant Vice President of Operations in

the region which included the Morgantown office where Plaintiff was employed.

       Almost immediately, Defendant Gregory started pressuring the Plaintiff to, in turn, pressure

the therapists who worked out of the Morgantown Care Center ("Morgantown CC") to increase their

level of interaction with Amedisys patients for the specific objective of increasing the Morgantown

CC's profitability.

       The Plaintiffconveyed this demand to the Morgantown CC's therapists, asking them whether

there were additional therapies and more extensive care plans that could be implemented for

legitimate reasons ofpatient care, as opposed to the primary purpose of increasing company revenue.

        The therapists responded that they routinely provided therapy that complied with their

patients' individual needs without consideration to revenues and profits. Typically, there was

nothing they could do to legitimately expand the scope, cost and extent of therapy provided to their


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patients that would be appropriate if considered solely from the perspective of their patient's needs

-  as opposed to expanding billable revenue for the benefit of Aniedisys, to the potential detriment

of their patients and Medicare.                                      -




       The Plaintiff reported her discussions with the therapists to the Defendant Gregory, informing

her that the therapists were already consistently providing necessary care to their patients and that

expanding the scope of services to include more billable opportunities was not indicated, and was

potentially detrimental to their patients and to Medicare. The Plaintiff told Ms. Gregory that she

would not participate in such a scheme because it would be improper, illegal and unethical. The

Plaintiff also stated that she would not jeopardize her nursing licensure.

     The Defendant Gregory expressed her displeasure with the Plaintiff's refusal in numerous

confrontations, and eventually issued a Corrective Action Form on August 20, 2018 criticizing the

Plaintiff's performance in the following particulars:

       •       "Morgantown CC continues to been [sic] negative NIFO" (i.e. net income from
               operations);

       •       "DOO ("i.e. Plaintiff) has lacked sense of urgency regarding operations metrics and
               weekly negative NIFO calls;"

       •       "Demonstrates a lack of ownership for clinical review processes."

All three of those stated reasons for corrective action or separation are directly related to the

Defendant Gregory's insistence that revenue from therapy activities should be maximized so as to

generate additional income for the Morgantown CC, regardless of patient need.

       The August 20, 2018 Corrective Action Form continued with a list of Performance

Expectations for the Plaintiff which included:

       0       "Work with CM and be able to discuss the issues with the clinical review process as
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                evidence [sic] by the financials."

                "There will be operational and clinical improvements in outcomes/STAR rating,
                therapy utilization, CPV, and revenue per episode."

Those stated expectations are also directly related to the Defendant Gregory's insistence that

revenues and proceeds from therapy activities should be maximized so as to generate additional

income for the Morgantown CC, regardless of patient need.

         The Plaintiffs written response to the August 2018 Corrective Action Form included the

statement "I refuse to tell my staff to due [sic] more visits than they feel appropriate for the patient."

         On November 13, 2018, the Plaintiffreceived yet another Corrective Action Form indicating
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that she was being terminated immediately for unsatisfactory performance which allegedly included:

         •      "Morgantown CC continues to be a negative NIFO."

         •      "DOO has lacked sense of urgency regarding operations metrics."

         •      "Demonstrates a lack of ownership for clinical review processes        ..   .


         •      "DOO has shown a lack of accountability for clinician/office staff"

         The Defendant Gregory's repeated efforts to pressure the Plaintiff to make the Morgantown

CC expand the scope, frequency and duration of therapy to Amedisys' patients, and ultimately firing

the Plaintiff because she refused to do so, were undertaken by the Defendant Gregory for the purpose

of maximizing revenue for her employer; and maximizing incentive bonuses the Defendant Gregory

knew she would get if the Morgantown CC became more profitable.

         The Defendant Gregory's actions as described above at paragraphs 9-17 constitute health care

fraud and a blatant disregard for the well-being of Amedisys patients. She retaliated against Janet

A. Johnson and eventually terminated her employment with Amedisys because the Plaintiff refused



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to engage in health care fraud; participate in the Defendants' scheme to waste Medicare resources;

and, potentially harm patient well-being. Thus, a significant factor in Janet A. Johnson's termination

from her employment with Amedisys was the Defendant Gregory's violation of West Virginia law.

       The Defendant Amedisys is liable for all improper conduct of the Defendant Gregory as set

forth hereinpursuant to the principles of agency and the doctrine of respondeat superior.

                                       Ill. Harless Violation

        The law in West Virginia is that an employer is not permitted to terminate even anat will

employee if the "employer's motivation for the discharge is to contravene some substantial public
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policy principle..." Syllabus Pt., Harless v. First Nat Bank in Fairmont, 162 W. Va. 116, 246

S.E.2d 270 (1978).

        At all times relevant to the Plaintiff's wrongful termination from employment, the substantial

public policy in West Virginia prohibited health care fraud including wasting, and scheming to

obtain, resources belonging to federal and state programs such as Medicare and Medicaid; and

committing certain violations which potentially endanger patients.

        Examples of the public policy which the Defendant Gregory violated are found in the Patient

Safety Act of 2001, W. Va. Code § 16-39-1 et seq. (Henceforth "the Act") which provides that the

quality of health care in this State will suffer if "waste" and "wrongdoing" affecting the quality of

health care delivery is unchecked. W. Va. Code § 16-39-1. "Waste" is defined to mean "the

conduct, act or omission by a health care entity that results in substantial abuse, misuse, destruction

or loss of funds, resources or property belonging to a patient, a health care entity, or any federal or

state program." W. Va. Code § 16-39-3(8). "Wrongdoing" is defined to mean "a violation of any

law, rule, regulation or generally recognized professional or clinical standard that relates to care,
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services or conditions and which potentially endangers one or more patients or workers or the ,

public."

23.    Additional examples of this State's substantial public policy which are relevant to this

case may be found in W. Va. Code § 61-3-24. Obtaining money, property and services by false

pretenses; disposing ofproperty to defraud creditors; penalties; and W. Va. Code § 61-3-24d.

Fraudulent schemes; cumulation of amounts where common scheme aLctc; penalties.

24.    As a proximate result of the Plaintiff's termination from employment in violation of this

State's substantial public policy as aforesaid, she has suffered, and will suffer in the future,

injury and damages consisting of:

                    Lost wages and benefits, including front pay;

                    Annoyance and inconvenience;

                    Mental anguish;

                    Pain and suffering;

               -,   Humiliation and embarrassment;

                    Loss of enjoyment of life;

                    Other sundry and miscellaneous damages which will be developed in discovery
                    prior to trial.

                             IV. Violation of the Patient Safety Act of 2001

25.        The plaintiff Janet A. Johnson was terminated from her employment in violation of the

Act. All provisions of the Act are incorporated herewith by reference.

26.        At all times, pertinent to this action:

                    Amedisys was a "health care entity" as defined in the Act. (W. Va. Code § 16-39-
                    3 (6);


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              Janet A. Johnson was a "health care worker" as defined in the Act. (W. Va. Code
              § 16-39-3 (7);

27.    The Act provides that

       (a) No person may retaliate or discriminate in any manner against any health care worker

       because the worker, or any person acting on behalf of the worker:

                  Makes a good faith report, or is about to report, verbally or in writing, to the

              health care entity or appropriate authority an instance of wrongdoing or waste.

                   Advocated on behalf of a patient or patients with respect to the care, services

              or conditions of a health care entity.             -




28.    Ms. Johnson's refusal to cooperate with the Defendant Gregory's scheme to defraud

Medicare and expose Amedisys ptients to unnecessary treatments as set forth above in paragraphs

9-17 constituted a) "a good faith report" about waste and wrongdoing as defined in the Act; and b)

advocacy on behalf of Amedisys' patients with respect to the care and services of Amedisys. Ms.

Johnson was retaliated against while employed by Amedisys, eventually cuhninating in her

termination, for refusing to cooperate with the Defendant Gregory's scheme.

29.    As a proximate result of the Defendants having retaliated against Ms. Johnson in violation

of the Act, the Plaintiff Janet A. Johnson has suffered, and will suffer in the future, injury and

damages consisting of:

               Lost wages and benefits, including front pay;

               Annoyance and inconvenience;

               Mental anguish;

               Pain and suffering;


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              Humiliation and embarrassment;

               Loss of enjoyment of life

       0.     Other sundry and miscellaneous damages which will be developed in discovery

               prior to trial

                                       Y. Declaraton' Relief

30.    The Plaintiff Janet A. Johnson claims additional relief pursuant toW. Va. Code §§ 55-13-1

et seq., the "Unifonn Declaratory Judgments Act."

31.    On or about June 2, 2011, the Defendant Amedisys and the Plaintiff entered into a purported   -




contract captioned "Confidentiality and Non-Recruitment Agreement" (henceforth, "Agreement").

32.    The Agreement is void for lack of consideration. The only consideration specified in the

Agreement is "in consideration of Company employing Employee." However, the Plaintiff had

already been employed for nearly one year on the date the Agreement was signed.

33.    Furthermore, the Agreement is:

               Procedurally unconscionable because it is a contract of adhesion where the parties

were in distinctly disparate bargaining postures and with Ms. Johnson being under the impression

that if she declined to sign the agreement she would be at risk of losing her job; and

               Substantively unconscionable because its terms are to ally one-sided without any

benefit whatsoever to the Plaintiff.

34.    Consequently, the Plaintiff Janet A. Johnson asks this Honorable Court to determine the

construction and validity of the Agreement and provide a declaration that it is void and of no force

and effect.
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                                      VI. Punitive Damaac

35.    The Plaintiff's tennination from employment in violation of the substantial public policy of

this State was carried out by the Defendants with actual malice towards her; or a conscious, reckless

and outrageous indifference to the health, safety and welfare of others so that an award of punitive

damages is warranted.

                                     VII. Loss of Consortium

36.    As a proximate result of the wrongful termination of the Plaintiff Janet A. Johnson as set

forth above, the Plaintiff Christopher Johnson has suffered the loss of services, society and

companionship of his spouse.

       WHEREFORE, the Plaintiff; Janet A. Johnson and Christopher Johnson demand judgment

against the Defendants Amedisys Holdings L.L.C. and Jemia M. Gregory consisting of:

       A.      Compensatory and punitive damages in such sum above this Court's minimum

               jurisdictional limit as will provide ajust and fair award;

       S.      Ms. Johnson's reinstatement, including full reinstatement of fringe benefits and

               seniority rights;

               Their costs of litigation including attorney fees; prejudgment and postjudgment

               interest;

               A declaration that the June 2011 Agreement is void and of no force and effect.

                Court costs; and,

                Such additional relief as is lawful and appropriate under the facts of this case and

                West Virginia law.                    /




                           PLAINTIFFS DEMAND TRIAL BY JURY
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